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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
ROMAN TAFFESE,
                                                                         DOCKET NO.:
                                                         Plaintiff,

                            -against-

CITY OF BUFFALO, CITY OF BUFFALO POLICE
OFFICER COURTNEY HALLIGAN, CITY OF                                       COMPLAINT
BUFFALO POLICE OFFICER STEPHEN LESNIAK,
CITY OF BUFFALO POLICE OFFICER MARK
VARA, CITY OF BUFFALO POLICE OFFICER
NICHOLAS YANT, CITY OF BUFFALO POLICE
OFFICER JENNIFER ZANGHI, CITY OF BUFFALO
POLICE OFFICER JOHN/JANE DOES #1-10
(fictitiously named), individually, ERIE COUNTY,                         Jury Trial Demanded
ERIE COUNTY DISTRICT ATTORNEY’S OFFICE,
ERIE COUNTY DISTRICT ATTORNEY JOHN/JANE
DOES #1-10 (fictitiously named), individually, and
ROBERT RENNER,

                                                      Defendants.
-------------------------------------------------------------------- X

        Plaintiff, ROMAN TAFFESE, by and through her attorneys, THE RUSSELL

FRIEDMAN LAW GROUP, LLP, complaining of the Defendants, CITY OF BUFFALO, CITY

OF BUFFALO POLICE OFFICER COURTNEY HALLIGAN, CITY OF BUFFALO POLICE

OFFICER STEPHEN LESNIAK, CITY OF BUFFALO POLICE OFFICER MARK VARA,

CITY OF BUFFALO POLICE OFFICER NICHOLAS YANT, CITY OF BUFFALO POLICE

OFFICER JENNIFER ZANGHI, CITY OF BUFFALO POLICE OFFICER JOHN/JANE DOES

#1-10 (fictitiously named), individually, ERIE COUNTY, ERIE COUNTY DISTRICT

ATTORNEY’S OFFICE, ERIE COUNTY DISTRICT ATTORNEY JOHN/JANES DOES #1-

10 (fictitiously named), individually, and ROBERT RENNER (hereinafter, collectively

“Defendants”), respectfully alleges as follows:



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                                 NATURE OF THE ACTION

       1.      This is an action for deprivation of Plaintiff’s civil rights, committed by

Defendants while acting in concert and under color of state law, of Plaintiff’s rights, liberties,

and immunities as guaranteed to her by reason of the Fourth, Fifth, and Fourteenth Amendments

to the United States Constitution. This Court is authorized to grant Plaintiff relief under 42

U.S.C. §§ 1981, 1983, 1985, 1986, and 1988.

                                        JURISDICTION

       2.      Jurisdiction in this matter is invoked in accordance with 28 U.S.C. § 1331 and 28

U.S.C. § 1367. Plaintiff further invokes the supplemental jurisdiction of the Court to hear and

decide claims arising out of the pendant state claims pursuant to 28 U.S.C. § 1376(a).

                                             VENUE

       3.      Venue is proper in the Western District of New York pursuant to 28 U.S.C. §

1391(b) since all of the events and omissions giving rise to Plaintiff’s claims occurred within the

County of Erie, City of Buffalo; the actual place of employment of all of the individual

Defendants is Erie County in the Western District of New York; and the County of Erie, City of

Buffalo is within the jurisdiction of the Western District of New York. The events surrounding

this lawsuit occurred in Erie County, in the Western District of New York. Additionally,

Plaintiff resides within the County of Erie in the Western District of New York.

                                           PARTIES

       4.      Plaintiff, ROMAN TAFFESE (hereinafter, “Taffese” or “Plaintiff”), is a resident

of the United States who lives within the Western District of New York.

       5.      Defendant, CITY OF BUFFALO (“Buffalo”), is a municipal subdivision of the

State of New York located in the County of Erie, duly existing by reason of and pursuant to the



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laws of the State of New York.

       6.     Defendant, CITY OF BUFFALO POLICE OFFICER COURTNEY HALLIGAN

(“PO Halligan”) is a police officer who is being sued in her individual and official capacity and

is an employee of the City of Buffalo. Upon information and belief, at all relevant times

described herein, PO Halligan was acting under color of state law within the scope of her

employment as a police officer employed by Buffalo.

       7.     Defendant, CITY OF BUFFALO POLICE OFFICER STEPHEN LESNIAK (“PO

Lesniak”) is a police officer who is being sued in his individual and official capacity and is an

employee of the City of Buffalo. Upon information and belief, at all relevant times described

herein, PO Lesniak was acting under color of state law within the scope of his employment as a

police officer employed by Buffalo.

       8.     Defendant, CITY OF BUFFALO POLICE OFFICER MARK VARA (“PO

Vara”) is a police officer who is being sued in his individual and official capacity and is an

employee of the City of Buffalo. Upon information and belief, at all relevant times described

herein, PO Vara was acting under color of state law within the scope of his employment as a

police officer employed by Buffalo.

       9.     Defendant, CITY OF BUFFALO POLICE OFFICER NICHOLAS YANT (“PO

Yant”) is a police officer who is being sued in his individual and official capacity and is an

employee of the City of Buffalo. Upon information and belief, at all relevant times described

herein, PO Yant was acting under color of state law within the scope of his employment as a

police officer employed by Buffalo.

       10.    Defendant, CITY OF BUFFALO POLICE OFFICER JENNIFER ZANGHI (“PO

Zanghi”) is a police officer who is being sued in her individual and official capacity and is an



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employee of the City of Buffalo. Upon information and belief, at all relevant times described

herein, PO Zanghi was acting under color of state law within the scope of her employment as a

police officer employed by Buffalo.

       11.     Defendant, CITY OF BUFFALO POLICE OFFICER JOHN/JANE DOES #1-10

(fictitiously named), individually (hereinafter, collectively “PO Does”) are police officers who

are being sued in their individual and official capacities and are employed by Buffalo. Upon

information and belief, at all relevant times described herein, Buffalo PD John Does were acting

under color of state law within the scope of their employment as police officers employed by

Buffalo.

       12.     Defendants PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO

Does are collectively referred to herein as “Buffalo PD Officers” and/or “Buffalo PD

Defendants”.

       13.     Defendant, ERIE COUNTY (“County”), is a municipal subdivision of the State of

New York, duly existing by reason of and pursuant to the laws of the State of New York.

       14.     Defendants, ERIE COUNTY DISTRICT ATTORNEY’S OFFICE (“ECDA

Office”) and ERIE COUNTY DISTRICT ATTORNEY JOHN/JANE DOES #1-10 (fictitiously

named), individually (“DA Does”), are district attorneys who are being sued in their individual

and official capacities and are employed by the County. Upon information and belief, at all

relevant times described herein, DA Does were acting under color of state law within the scope

of their employment as District Attorney and Assistant District Attorneys employed by the

County.

       15.     Defendant ROBERT RENNER (“Mr. Renner”), upon information and belief, is a

retired Corrections Officer of the Wende Correctional Facility who resides at 11 Deer Street,



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Buffalo, New York. Upon information and belief, at all relevant times described herein, Mr.

Renner conspired with the other Defendants who were acting under color of state law within the

scope of their employment as police officers employed by Buffalo and the County.

                                   NATURE OF THE CASE

       16.     This is an action seeking recovery for deprivation of Plaintiff Roman Taffese’s

civil rights guaranteed to her under the Fourth, Fifth, and Fourteenth Amendments to the United

States Constitution committed by the above-named municipal Defendants in concert with

Defendant Mr. Renner.

       17.     Plaintiff Taffese bases this action upon the illegal search and seizure of her home

by various members of the City of Buffalo Police Department on February 9, 2018, the

subsequent false arrest of Plaintiff on February 24, 2018, and the subsequent malicious

prosecution caused by the unlawful arrest of Plaintiff Taffese by the ECDA Office that ended

with all charges being dismissed in favor of Plaintiff Taffese.

                           STATEMENT OF RELEVANT FACTS

       18.     Plaintiff Taffese is a fifty-four (54) year old female of Ethiopian descent, an

observant Muslim, and a citizen of the United States of America, who resides in the City of

Buffalo, County of Erie, State of New York.

       19.     In or about October 2017, Plaintiff purchased a home located at 20 Deer Street,

Buffalo, New York.

       20.     Immediately upon moving into her home, Plaintiff was subjected to an onslaught

of racial and ethnic taunts by Mr. Renner, who lives across the street from Plaintiff’s residence.

        21.    Upon information and belief, Mr. Renner was displeased that an observant

Muslim of Ethiopian descent had moved into the neighborhood.



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        22.     In fact, within days of Plaintiff moving to her new home, Mr. Renner walked over

to engage Plaintiff, asking if she was a tenant, to which Plaintiff replied that she had just bought

the property.

        23.     Upon hearing this, Mr. Renner became increasingly agitated and yelled at

Plaintiff that the prior tenants of her house were Burmese refugees who left trash all over the

place and shouted, in sum and substance, “Get the F out of this country.”

        24.     Plaintiff, upon hearing Mr. Renner’s racial and ethnic rant, was in shock and

disbelief, but decided to not engage Mr. Renner and go back into her house, praying that it was a

onetime occurrence.

        25.     After this initial encounter, Mr. Renner continued to engage in a series of

intimidating acts with the intent of disrupting Plaintiff’s use and enjoyment of her property,

without provocation or any other lawful reason.

        26.     Mr. Renner would purposely park his truck in front of Plaintiff’s property every

Friday morning to prevent the City of Buffalo Department of Sanitation (hereinafter, “Sanitation

Department”) from picking up her garbage that she left in front of her house for pickup.

        27.     Mr. Renner’s intent was to block Plaintiff’s garbage so that her trash remained in

front of her residence after the Sanitation Department came for pickup, causing garbage in front

of her house to pile up, solely as a means to harass and intimidate Plaintiff based on her race,

religion, and/or ethnicity.

        28.     Plaintiff attempted to ask Mr. Renner to stop blocking her garbage multiple times

to no avail.

        29.     After Plaintiff’s requests to amicably resolve the situation with Mr. Renner failed,

Plaintiff was forced to file a complaint with the City of Buffalo Police Department (hereinafter,



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“Buffalo PD”).

       30.     However, the Buffalo PD simply ignored Plaintiff’s complaint, essentially

countenancing Mr. Renner’s harassing behavior toward Plaintiff, which continued.

       31.     On February 9, 2018, Plaintiff woke up and placed her garbage in front of her

residence for pickup.

       32.     As soon as Plaintiff went back into her residence, Mr. Renner moved his truck

from where it was parked overnight and intentionally parked in front of Plaintiff’s residence in

order to prevent the Sanitation Department from picking up her garbage.

       33.     Plaintiff then proceeded outside and gently placed her garbage bag on top of Mr.

Renner’s truck and waited for it to be picked up by the Sanitation Department.

       34.     Mr. Renner, upon seeing this, took a photo of the garbage that Plaintiff gently

placed on his truck and contacted the Buffalo PD to have Plaintiff arrested.

       35.     Upon information and belief, Mr. Renner falsely claimed that Plaintiff placing a

light garbage bag on top of the hood to his vehicle caused damage in the amount of $120.00 in

order to have Plaintiff arrested.

       36.     Later that day, PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and/or

PO Does arrived at Plaintiff’s residence at the behest of Mr. Renner.

       37.     Plaintiff then opened her front door to see why there were so many police officers

responding to her neighborhood.

       38.     PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and/or PO Does then

approached Plaintiff’s residence and asked her to produce identification, despite having no legal

reason to do so, while Plaintiff was lawfully on her porch and no crime having been committed.

       39.     In an attempt to comply with the Buffalo PD Officers’ requests, Plaintiff advised



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PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and/or PO Does that, although she was

not giving them permission to enter her house, she would go upstairs and get her identification

for the officers.

        40.     Immediately thereafter, PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi,

and PO Does proceeded to enter Plaintiff’s residence without consent.

        41.     PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does did not

have a warrant to enter Plaintiff’s household at that time or any time thereafter.

        42.     PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does did not

have probable cause that a crime was being committed that would allow them to enter Plaintiff’s

household without a warrant and lacked any exigent circumstances for same.

        43.     While inside Plaintiff’s residence, PO Halligan, PO Lesniak, PO Vara, PO Yant,

PO Zanghi, and PO Does continued to verbally berate Plaintiff and intimidate her in retaliation

for the dispute and past complaints against Mr. Renner.

        44.     While inside Plaintiff’s residence, PO Halligan, PO Lesniak, PO Vara, PO Yant,

PO Zanghi, and PO Does proceeded to search Plaintiff’s residence without consent, probable

cause, or other legal justification for same with the intent to intimidate her, even though Plaintiff

was cooperative at all times.

        45.     This lack of justification prior to entry included, although not exclusively, the fact

that the aforementioned Buffalo PD Officers were aware that: (1) no warrant had been obtained;

(2) there was no “hot pursuit” which preceded the search of the house; (3) there was no evidence

which was feared to be destroyed; (4) the search was not incident to an arrest; and (5) there were

no individuals requiring assistance inside the house.

        46.     While the Buffalo PD Officers were in her home, Plaintiff attempted to video



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record the matter with her cell phone and was repeatedly threatened with arrest if she did not

stop recording the incident.

       47.     After Plaintiff provided the Buffalo PD Officers with identification, PO Halligan,

PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does exited Plaintiff’s residence and left the

area without making an arrest because there was no probable cause that a crime had been

committed.

       48.     As a result of the above, Plaintiff was placed in imminent fear of both her health

and safety.

       49.     On or about February 14, 2018, Plaintiff, in shock and disbelief that the

aforementioned events occurred, decided to file a formal complaint with Buffalo PD

Commissioner Byron Lockwood outlining the unconstitutional actions of the Buffalo PD

Officers and Robert Renner on February 9, 2018.

       50.     On or about February 23, 2018, in retaliation for filing a formal complaint against

the Buffalo PD for the events that transpired in Plaintiff’s residence on or about February 9,

2018, PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does proceeded to

Plaintiff’s residence that night and started banging heavily on Plaintiff’s door without a warrant

and/or legal justification for same.

       51.     Plaintiff refused to allow the aforementioned Defendant Officers into her home

despite their numerous demands for same and heavy banging on the door, which placed Plaintiff

in imminent fear of her health and safety.

       52.     PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does had no

legal justification to enter Plaintiff’s property that evening and did so solely in retaliation for

Plaintiff filing past complaints against the Buffalo PD and Robert Renner.



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       53.     The following day, on February 24, 2020, Plaintiff, still in shock and disbelief at

what occurred the night before, went to the Buffalo PD, D-District Precinct, in order to file an

additional complaint with the Buffalo PD regarding the events that transpired on February 23,

2018 and also to request a police escort home because Plaintiff was frightened to go back to her

house alone after the events that transpired the night before.

       54.     Plaintiff was immediately arrested upon her arrival at the Buffalo PD Precinct

despite no crime being committed or legal justification for same.

       55.     PO Halligan, PO Lesniak, and/or PO Yant, in concert with PO Vara, PO Zanghi,

PO Does and Mr. Renner, conspired and concocted the trumped-up allegations of wrongdoing by

Plaintiff, where they falsely accused her of criminal mischief with intent to damage property in

violation of New York Penal Law 145.00(1) and harassment in violation of New York Penal

Law 240.26(1) for placing a light garbage bag on top of Mr. Renner’s truck on February 9, 2018.

       56.     The aforementioned Defendant Officers detained and arrested Plaintiff, even

though no probable cause existed for the arrest.

       57.     Plaintiff was then strip-searched and subjected to degrading and abusive treatment

throughout the unlawful detention at the Buffalo PD, D-District Precinct.

       58.     PO Halligan, in concert with PO Lesniak, PO Yant, PO Vara, PO Zanghi, and PO

Does, signed the accusatory instrument for the prosecution of Plaintiff.

       59.     In continuation of the illegal and unconstitutional conduct, Defendants County,

ECDA Office and DA Does (collectively, the “Erie County Defendants”) then prosecuted

Plaintiff on the aforementioned charges.




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       60.     The criminal charges levied against Plaintiff were initiated purely to cover-up the

illegal and unconstitutional conduct of PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi,

PO Does and Mr. Renner.

       61.     Plaintiff was held overnight in jail and, upon information and belief, released on

her own recognizance after her arraignment on the charges the following day.

       62.     The Erie County Defendants, acting in concert with the Buffalo PD Officers,

initiated and continued the prosecution of the charges without a legal basis to do so.

       63.     After receiving exonerating evidence and/or evidence which vitiated any probable

cause against Plaintiff, the Erie County Defendants nonetheless continued same.

       64.     The initiation and/or continuation of these charges was performed by the Erie

County Defendants as part of a conspiracy with the Buffalo PD Officers and Robert Renner to

insulate them from potential liability for their past illegal and/or unconstitutional actions.

       65.     Defendants arrested and prosecuted Plaintiff Taffese for crimes which Plaintiff

did not commit and for which there was no probable cause to charge and prosecute Plaintiff.

       66.     The prosecution of Plaintiff was initiated with malice.

       67.     The prosecution of Plaintiff was continued after probable cause was vitiated.

       68.     The prosecution was continued solely to cover-up the Buffalo PD Officers and

Robert Renner’s unlawful and unconstitutional conduct.

       69.     As a result of the malicious prosecution, Plaintiff was required to pay for the

services of a criminal defense attorney at a substantial cost to her.

       70.     Plaintiff was required to appear in court multiple times after Defendants had

incontrovertible video and/or photographic evidence that Plaintiff had not committed any of the

crimes she was charged.



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       71.     Defendants continued the prosecution solely in retaliation for making past

complaints about the Buffalo PD and Robert Renner.

       72.     The prosecution ended upon a jury verdict of not-guilty in favor of Plaintiff on

December 6, 2018, when all charges were dismissed in her favor. Plaintiff filed timely Notices of

Claim and the statutory period has since passed without the claim being settled.

                          AS AND FOR PLAINTIFF’S
  FIRST CLAIM FOR RELIEF FOR VIOLATIONS OF PLAINTIFF’S FOURTH AND
  FOURTEENTH AMENDMENT RIGHTS FOR ILLEGAL SEARCH AND SEIZURE
                AGAINST THE BUFFALO PD DEFENDANTS

       73.     Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length herein.

       74.     At all times relevant to the allegations contained herein, PO Halligan, PO

Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does were acting under color of state law.

       75.     The search of Plaintiff’s residence (hereinafter, “20 Deer Street”) on February 9,

2018 was performed without legal justification.

       76.     The search of 20 Deer Street was performed without the consent of Plaintiff.

       77.     On February 9, 2018 and for the duration of the search and seizure of 20 Deer

Street, PO Halligan, PO Lesniak, PO Vara, PO Yant, PO Zanghi, and/or PO Does violated the

Fourth and Fourteenth Amendment Rights of Plaintiff with their illegal, wrongful, and/or

unconstitutional search and seizure of 20 Deer Street.

       78.     As a proximate cause of the search and seizure of 20 Deer Street by PO Halligan,

PO Lesniak, PO Vara, PO Yant, PO Zanghi, and PO Does, Plaintiff was injured and/or damaged.

       79.     As a proximate result of the Buffalo PD Defendants’ intentional and malicious

actions, Plaintiff was physically, mentally, emotionally, and financially injured, humiliated,


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endured damage to Plaintiff’s reputation, was the subject of public ridicule, caused to incur

attorneys’ fees, associated legal expenses and other special damages, and has suffered great

mental anguish, all to Plaintiff’s damage in an amount to be provided at trial but not less than

ONE MILLION DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                        AS AND FOR PLAINTIFF’S
SECOND CLAIM FOR RELIEF FOR VIOLATIONS OF PLAINTIFF’S FOURTH AND
  FOURTEENTH AMENDMENT RIGHTS FOR FALSE ARREST AGAINST THE
                    BUFFALO PD DEFENDANTS

       80.     Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

       81.     On or about February 24, 2018, Plaintiff, on her own volition, went to the Buffalo

PD, D-District Precinct seeking protection and to file a complaint for the prior unconstitutional

acts of the Buffalo PD Defendants.

       82.     As soon as Plaintiff arrived at the precinct, she was arrested, without probable

cause that a crime had been committed, in retaliation for having made past complaints about the

Buffalo PD and Mr. Renner.

       83.     Following her arrest, Plaintiff was unlawfully detained, strip searched, and

subjected to further degrading and abusive treatment by the Buffalo PD Defendants.

       84.     The arrest and detention of Plaintiff by the Buffalo PD Defendants were

conducted under color of state law within the purview of 42 U.S.C. § 1983 and within the scope

of their employment by the Buffalo PD.

       85.     Plaintiff was aware of her detention.

       86.     Plaintiff did not consent to being detained.

       87.     Defendants did not have an arrest warrant, search warrant, or probable cause to


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arrest and continuously detain Plaintiff.

        88.      Plaintiff’s detention was not privileged as Defendants lacked probable cause for

all and/or part of her detention. In fact, no reasonable officer would agree that there was probable

cause for Plaintiff’s arrest at the time of her detention.

        89.      As a result of her illegal detention, Plaintiff’s Fourth and Fourteenth Amendment

rights were violated and Plaintiff was unlawfully deprived of her liberty without legal

justification.

        90.      As a proximate result of the Buffalo PD Defendants’ intentional and malicious

actions, Plaintiff was physically, mentally, emotionally, and financially injured, humiliated,

endured damage to Plaintiff’s reputation, was the subject of public ridicule, caused to incur

attorneys’ fees, associated legal expenses and other special damages, and has suffered great

mental anguish, all to Plaintiff’s damage in an amount to be provided at trial but not less than

ONE MILLION DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                       AS AND FOR PLAINTIFF’S
  THIRD CLAIM FOR RELIEF FOR VIOLATIONS OF PLAINTIFF’S FOURTH AND
    FOURTEENTH AMENDMENT RIGHTS FOR MALICIOUS PROSECUTION
                     AGAINST ALL DEFENDANTS

        91.      Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

        92.      On or about February 24, 2018, PO Halligan, PO Lesniak, and/or PO Yant, in

concert with PO Vara, PO Zanghi, PO Does and Mr. Renner, conspired and concocted the

trumped-up allegations of wrongdoing by Plaintiff, where they falsely accused her of criminal

mischief with intent to damage property in violation of New York Penal Law 145.00(1) and

harassment in violation of New York Penal Law 240.26(1) for placing a garbage bag on top of

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Mr. Renner’s truck on February 9, 2018.

       93.     PO Halligan signed and filed a misdemeanor information charging Plaintiff with

crimes that she did not commit.

       94.     On or about February 24, 2018, PO Lesniak, PO Yant, PO Vara, PO Zanghi,

and/or PO Does witnessed PO Halligan sign and file a misdemeanor information charging

Plaintiff with crimes that she did not commit, but failed to intervene, despite knowing that such

action was unlawful.

       95.     On or about February 25, 2018, Plaintiff was arraigned and formally charged with

numerous false criminal charges.

       96.     The prosecution of Plaintiff was initiated and continued by Defendants with

malice and without any legal basis.

       97.     At the time the prosecution was commenced, Defendants had knowledge that

Plaintiff was innocent of the charges alleged in the misdemeanor information.

       98.     As a result of the malicious prosecution, Plaintiff was required to pay for the

services of a criminal defense attorney at a substantial cost to her.

       99.     As a result of the false, unlawful, and retaliatory charges, Plaintiff was required to

make multiple appearances in Court.

       100.    Defendants participated in the investigations of allegations against Plaintiff, as

well as the criminal prosecution against her.

       101.    The criminal prosecution was commenced despite Defendants’ knowledge that

Plaintiff did not participate in the alleged crimes and that probable cause for the arrest and

initiation of the prosecution did not exist.

       102.    The criminal prosecution was continued after Defendants knew that he/she/they



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had no probable cause for the original arrest and/or initiation of the prosecution existed.

        103.   By participating in the arrest and prosecution which they knew lacked probable

cause and was instituted purely for retaliatory reasons, Defendants acted with malice against

Plaintiff.

        104.   The Erie County Defendants prosecuted Plaintiff with malice independent of their

lack of probable cause.

        105.   The Erie County Defendants demonstrated their malicious intent by requiring

Plaintiff to either accept an ACD or plead guilty to the charges, despite having incontrovertible

evidence that Plaintiff was innocent of the charges that were filed to cover up the prior

unconstitutional conduct of the Buffalo PD Defendants and Mr. Renner.

        106.   The prosecution of Plaintiff was terminated favorably to her and all charges were

dismissed.

        107.   As a result of Defendants’ malicious prosecution, Plaintiff’s Fourth and

Fourteenth Amendment rights were violated.

        108.   As a proximate result of Defendants’ intentional and malicious actions, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to

Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,

associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.




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                      AS AND FOR PLAINTIFF’S
  FOURTH CLAIM FOR RELIEF FOR VIOLATIONS OF PLAINTIFF’S FOURTH,
FIFTH, AND FOURTEENTH AMENDMENT RIGHTS PURSUANT TO 42 U.S.C. § 1981
                    AGAINST ALL DEFENDANTS

        109.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length herein.

        110.    Plaintiff was targeted by Robert Renner in concert with the Buffalo PD

Defendants solely because of her race, religion, and ethnicity, that being a Muslim of Ethiopian

descent.

        111.    Plaintiff was subject to illegal searches and seizures, was detained, arrested,

prosecuted, and retaliated against by the Buffalo PD Defendants solely on the account of her

race, religion, and/or ethnicity.

        112.    The above referenced conduct was part of a pattern and practice of discrimination,

based on race, religion, ethnicity, and color, by the Buffalo PD and Buffalo PD Defendant

Officers, which violates 42 U.S.C. § 1981 as amended by the Civil Rights Restoration Act of

1991 (Publ. Law No, 102-406).

        113.    Defendants continued the aforesaid discriminatory and retaliatory treatment of

Plaintiff on a continuous, ongoing basis, and Defendants’ above alleged conduct was part of a

systemic pattern and practice of discrimination (against Plaintiff as a Muslim of Ethiopian

descent).

        114.    As a consequence of the Buffalo PD Defendants’ wrongful actions, willful

neglect, callous indifference, negligent behavior, and violation of state and federal laws, Plaintiff

was deprived of her freedom, severely injured in her reputation, subjected to unlawful search and



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seizure, maliciously prosecuted, and subjected to mental anguish, as well as suffered great fear,

embarrassment, personal humiliation, and degradation.

       115.      All of these rights are secured to Plaintiff by the provisions of the due process

clause of the Fifth and Fourteenth Amendments, the equal protection clause and the Fourth

Amendment to the United States Constitution, as well as the protections afforded under 42

U.S.C. § 1981.

       116.      As a proximate result of Defendants’ intentional and malicious actions, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to

Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,

associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                      AS AND FOR PLAINTIFF’S
FIFTH CLAIM FOR RELIEF FOR VIOLATIONS OF PLAINTIFF’S FOURTH, FIFTH,
   AND FOURTEENTH AMENDMENT RIGHTS PURSUANT TO 42 U.S.C. § 1985
                     AGAINST ALL DEFENDANTS

       117.      Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length herein.

       118.      The Buffalo PD Defendants’ accusations and allegations, in concert with Mr.

Renner, against Plaintiff were false, malicious, retaliatory, negligent, reckless, intentional, and

wrongful and were intended to cause Plaintiff injury and to harass Plaintiff.

       119.      The Buffalo PD Defendants brought about Plaintiff’s illegal search and seizure,

arrest on fabricated charges, and subsequent prosecution, all without lawful or proper basis or




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justification, on account of her race and color, all without consideration of Plaintiff’s rights and

in violation of all of Plaintiff’s rights.

        120.    That the false arrest, false imprisonment, illegal search and seizure, and violation

of the laws of the State of New York and Plaintiff’s civil rights were brought about and caused

by the actions of Defendants and that same were a clear and intentional abuse of process causing

Plaintiff damages. All of these rights are secured to Plaintiff by the provisions of the Constitution

of the United States and by 42 U.S.C. § 1985.

        121.    As a proximate result of Defendants’ intentional and malicious actions, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to

Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,

associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                      AS AND FOR PLAINTIFF’S
SIXTH CLAIM FOR RELIEF FOR VIOLATIONS OF PLAINTIFF’S FOURTH, FIFTH,
   AND FOURTEENTH AMENDMENT RIGHTS PURSUANT TO 42 U.S.C. § 1986
                     AGAINST ALL DEFENDANTS

        122.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length herein.

        123.    Defendants knew or should have known that the detainment, false arrest,

malicious prosecution, abuse of process, wrongful imprisonment, and illegal search and seizure

of Plaintiff violated Plaintiff’s rights guaranteed to her under the Fourth, Fifth, and Fourteenth

Amendments and 42 U.S.C. §§ 1983, 1985, and 1986.




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       124.    Each of the said Defendants had the authority, ability, and concurrent duty under

42 U.S.C. § 1986 to prevent the false arrest, wrongful detainment, and illegal search and seizure

of Plaintiff’s home and person, yet neglected to prevent said violations from occurring and,

further, failed to intervene to protect or aid Plaintiff when such violations did in fact occur.

       125.    The Buffalo PD Defendants failed to stop these wrongful actions, which

constitutes a breach of their duty to do so under 42 U.S.C. § 1986.

       126.    The Erie County Defendants failed to stop these wrongful actions, which

constitutes a breach of their duty to do so under 42 U.S.C. § 1986.

       127.    The Buffalo PD Defendants knew or should have known that the fabricated

accusations against Plaintiff, at the behest of Mr. Renner, were violative of her Fourth, Fifth, and

Fourteenth Amendment rights to due process, and were tantamount to unequal protection under

the law, in violation of Plaintiff’s fundamental rights under the constitution.

       128.    Said Defendants had and continue to have the power to prevent the continued due

process violations against Plaintiff, yet failed to prevent or dismiss the fabricated charges against

Plaintiff, or to protect Plaintiff from the unwarranted and potential penalties of said charges in

order to cover up the prior unconstitutional conduct of the Buffalo PD Officers and Mr. Renner.

       129.    Defendant City of Buffalo’s exoneration of and refusal to discipline the

Defendant Officers for their misconduct against Plaintiff is neglectful of its duty to prevent the

further violation of Plaintiff’s rights under 42 U.S.C. §§ 1981, 1983, 1985, and 1986, with such

violation occurring as a result of said Defendant Officers being improperly cleared of any

wrongdoing, despite substantial eye­witness and physical evidence to the contrary.

       130.    As a proximate result of Defendants’ intentional and malicious actions, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to



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Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,

associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                         AS AND FOR PLAINTIFF’S
           SEVENTH CLAIM FOR RELIEF FOR NEGLIGENT HIRING AND
                       FAILURE TO SUPERVISE (1983)
                        AGAINST ALL DEFENDANTS

       131.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

       132.    Defendants were responsible for supervising, overseeing, and controlling their

subordinates in the Buffalo PD and Erie County District Attorney’s Office.

       133.    The County intentionally failed to adequately supervise, control, oversee, and/or

monitor the Buffalo PD and Erie County District Attorney’s Office.

       134.    Upon information and belief, Buffalo was aware that the Buffalo PD Defendants

lacked probable cause at the time of Plaintiff’s arrest, but failed to take adequate measures to

resolve the wrong.

       135.    Upon information and belief, the County was aware that DA Does knew that

Plaintiff was innocent of the charges but continued with the prosecution to cover up the

unconstitutional actions of the Buffalo PD Defendants and Robert Renner.

       136.    Upon information and belief, it was the policy, practice, and custom of County

and Buffalo to allow Defendants to allow and/or ignore violations of the Fourth, Fifth, and

Fourteenth Amendments.




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       137.    Upon information and belief, it was the policy, practice, and custom of the County

and City of Buffalo to allow the Buffalo PD to make retaliatory arrests of individuals without

probable cause and/or other legal justification.

       138.    Upon information and belief, it was the policy, practice, and custom of the County

to allow the ECDA Office to coerce individuals, charged with crimes for which they knew they

were innocent, to accept an ACD or plead to the charges in order to cover up the unconstitutional

acts of other law enforcement members.

       139.    Upon information and belief, Defendants failed to adequately train their

employees to recognize constitutional violations and/or intervene to prevent the constitutional

violations of their employees and/or peers.

       140.    As a proximate result of Defendants’ intentional and malicious actions, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to

Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,

associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00), plus punitive damages and attorneys’ fees.

                           AS AND FOR PLAINTIFF’S
                     EIGHTH CLAIM FOR RELIEF AGAINST
              ERIE COUNTY AND CITY OF BUFFALO (MONELL CLAIM)

       141.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.




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        142.    Upon information and belief, it was the custom, policy, and practice of

Defendants to fail to terminate the prosecutions of individuals upon receipt of evidence which

would vitiate any probable cause possessed at the time of arrest.

        143.    Employees of the Buffalo PD and/or the ECDA Office, such as the individual

Defendants in this action, were aware at all times alleged in this Complaint that their

unconstitutional conduct would not be investigated or questioned, and that they would receive no

reprimand or be punished for their conduct.

        144.    Employees of the Buffalo PD and/or the ECDA Office, such as the individual

Defendants in this action, were aware at all times alleged in this Complaint that their

unconstitutional conduct would not be investigated or questioned, that they would receive no

reprimand or be punished for their conduct, and, further, that they would be indemnified from

civil liability regardless of the illegality or unconstitutionality of their actions.

        145.    By failing to supervise, train, and reprimand such Police Officers and District

Attorney/Assistant District Attorneys, such as the individual Defendants in this action, Buffalo

and County caused the injuries to Plaintiff through the actions and inactions of the individual

Defendants.

        146.    By maintaining a de facto policy of automatic indemnification, Buffalo and

County caused the injuries to Plaintiff through the actions and inactions of the individual

Defendants.

        147.    Upon information and belief, it was the custom, policy, and practice of Buffalo

and County to authorize and permit certain Police Officers and District Attorneys/Assistant

District Attorneys, including the individual Defendants, to cause unlawful detentions and illegal

searches and seizures.



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        148.    Upon information and belief, it was the custom, policy, and practice of Buffalo

and County to encourage and cause constitutional violations by the Police Officers and District

Attorney/Assistant District Attorneys employed by the City of Buffalo and Erie County,

including the violations of Plaintiff’s constitutional rights by the individual Defendants.

        149.    Buffalo and County’s failure to take action against their Police Officers and/or

District Attorney/Assistant District Attorneys involved in this incident, and in other similar

incidents, was part of a custom, practice, and procedure of neglect and deliberate indifference

that directly caused the injuries to Plaintiff.

        150.    As authorized representatives of Defendants Buffalo and/or County, the Police

Officers’ conduct of illegal arrests, searches and seizure of arrestees, such as Plaintiff,

constituted a custom, policy, and policies which renders Defendants Buffalo and County liable to

Plaintiff as a “Person” acting under the color of state law.

        151.    It was further the custom, policy, and practice of County to encourage District

Attorney/Assistant District Attorneys employed by County to coerce those falsely accused of

crimes, to either accept an ACD or plead guilty to the crimes with which they were falsely

charged, with the intent to cover up the unconstitutional actions of their coworkers and/or peers,

including the Buffalo PD and retired members of law enforcement.

        152.    These customs, policies, and practices enforced by Defendants were the moving

force, proximate cause, and/or affirmative link behind the conduct causing Plaintiff Taffese’s

injuries.

        153.    Defendants Buffalo and County are, therefore, liable for violations of Plaintiff’s

constitutional rights as caused by its/their employees, as described in more detail in the

paragraphs herein, and Plaintiff has suffered damages therefrom.



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       154.    As a proximate result of Defendants’ customs, policies, and practices for creating

an environment that tolerates, encourages, and condones such constitutional violations, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to

Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,

associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00),plus attorney’s fees.

                         AS AND FOR PLAINTIFF’S
           NINTH CLAIM FOR RELIEF FOR VIOLATION OF PLAINTIFF’S
                  SUBSTANTIVE DUE PROCESS (1983) AGAINST
                            ALL DEFENDANTS

       155.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

       156.    As a result of the facts alleged herein, Plaintiff was denied her substantive rights

under the United States Constitution.

       157.    Defendants abused process by continuously depriving Plaintiff of her substantive

rights under the United States Constitution when they had full knowledge that their actions were

unlawful and retaliatory in nature and that Plaintiff was innocent of the charges lodged against

her.

       158.    As a proximate result of Defendants’ actions, Plaintiff was physically, mentally,

emotionally, and financially injured, humiliated, endured damage to Plaintiff’s reputation, was

the subject of public ridicule, caused to incur attorneys’ fees, associated legal expenses and other

special damages, and has suffered great mental anguish, all to Plaintiff’s damage in an amount to

be provided at trial but not less than ONE MILLION DOLLARS ($1,000,000.00), plus punitive


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damages and attorney’s fees.

                         AS AND FOR PLAINTIFF’S
           TENTH CLAIM FOR RELIEF FOR VIOLATION OF PLAINTIFF’S
          PROCEDURAL DUE PROCESS (1983) AGAINST ALL DEFENDANTS

       159.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

       160.    Defendants initially searched and seized, subsequently detained, and/or continued

the detention of Plaintiff without a proper due process.

       161.    Defendants initially searched and seized, subsequently detained, and/or continued

the detention of Plaintiff by conspiring with each other to file false charges against Plaintiff in

retaliation for making past complaints and to insulate the prior unconstitutional actions of the

Buffalo PD and Mr. Renner.

       162.    As a result of this detention, Plaintiff was denied her procedural rights under the

United States Constitution.

       163.    As a proximate result of Defendants’ actions, Plaintiff was physically, mentally,

emotionally, and financially injured, humiliated, endured damage to Plaintiff’s reputation, was

the subject of public ridicule, caused to incur attorneys’ fees, associated legal expenses and other

special damages, and has suffered great mental anguish, all to Plaintiff’s damage in an amount to

be provided at trial but not less than ONE MILLION DOLLARS ($1,000,000.00), plus punitive

damages and attorney’s fees.

                       AS AND FOR PLAINTIFF'S
       ELEVENTH CLAIM FOR RELIEF FOR OFFICIAL MISCONDUCT (1983)
                      AGAINST ALL DEFENDANTS

       164.    Plaintiff repeats and realleges each and every allegation contained in those



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paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

       165.    Defendants injected themselves into a neighbor dispute and utilized the power of

their law enforcement authority to retaliate against Plaintiff for a dispute with Mr. Renner, a

retired member of the law enforcement community.

       166.    The official misconduct began when Defendant(s) selectively targeted and

subsequently arrested and prosecuted Plaintiff illegally without any justification under the law.

       167.    Defendants attempted to leverage the criminal prosecution of Plaintiff for their

own pecuniary and individual interests.

       168.    Defendants protracted the criminal prosecution of Plaintiff in an attempt to cover

up the prior unconstitutional conduct of the Buffalo PD Officers and Robert Renner.

       169.    As a proximate result of Defendants’ actions, Plaintiff was physically, mentally,

emotionally, and financially injured, humiliated, endured damage to Plaintiff’s reputation, was

the subject of public ridicule, caused to incur attorneys’ fees, associated legal expenses and other

special damages, and has suffered great mental anguish, all to Plaintiff’s damage in an amount to

be provided at trial but not less than ONE MILLION DOLLARS ($1,000,000.00), plus punitive

damages and attorney’s fees.

                          AS AND FOR PLAINTIFF’S
              TWELFTH CLAIM FOR RELIEF FOR FALSE ARREST AND
                         MALICIOUS PROSECUTION
                    (PENDENT) AGAINST ALL DEFENDANTS

       170.    Plaintiff repeats and realleges each and every allegation contained in those

paragraphs of the Complaint marked and numbered previously and/or herein with the same force

and effect as if more fully set forth at length below.

       171.    Plaintiff was arrested on February 24, 2018 without probable cause.


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          172.   Plaintiff was aware of her detention.

          173.   Plaintiff did not consent to being detained.

          174.   Defendants did not have an arrest warrant, search warrant, or probable cause to

arrest and continuously detain Plaintiff.

          175.   Plaintiff’s detention was not privileged as Defendants lacked probable cause for

all and/or part of her detention. In fact, no reasonable officer would agree that there was probable

cause for Plaintiff’s arrest at the time of her detention.

          176.   As a result of her illegal detention, Plaintiff’s Fourth and Fourteenth Amendment

rights were violated and Plaintiff was unlawfully deprived of her liberty without legal

justification.

          177.   Subsequent to Plaintiff’s arrest, Plaintiff was maliciously prosecuted by

Defendants.

          178.   The prosecution of Plaintiff was initiated with malice.

          179.   The prosecution of Plaintiff was continued with malice.

          180.   The prosecution of Plaintiff was continued after Defendants received exonerating

evidence and/or the totality of the evidence vitiated Defendant(s)’ probable/reasonable cause.

          181.   The initiation of the prosecution of Plaintiff amounted to an abuse of process.

          182.   The continuation of the prosecution of Plaintiff amounted to an abuse of process.

          183.   The prosecution of Plaintiff was terminated in her favor upon finding of not-

guilty.

          184.   As a proximate result of Defendant(s)’ intentional and malicious actions, Plaintiff

was physically, mentally, emotionally, and financially injured, humiliated, endured damage to

Plaintiff’s reputation, was the subject of public ridicule, caused to incur attorneys’ fees,



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associated legal expenses and other special damages, and has suffered great mental anguish, all

to Plaintiff’s damage in an amount to be provided at trial but not less than ONE MILLION

DOLLARS ($1,000,000.00), plus punitive damages.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Roman Taffese, respectfully requests judgment against

Defendants as follows:

       A.     Under the First Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

       B.     Under the Second Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

       C.     Under the Third Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

       D.     Under the Fourth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages attorney’s fees.

       E.     Under the Fifth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

       F.     Under the Sixth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

       G.     Under the Seventh Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

       H.     Under the Eighth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus attorney’s fees.




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      I.     Under the Ninth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

      J.     Under the Tenth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

      K.     Under the Eleventh Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages and attorney’s fees.

      L.     Under the Twelfth Claim for Relief, in the amount of ONE MILLION

($1,000,000.00) DOLLARS plus punitive damages.

      M.     For compensatory damages against all Defendants in an amount to be determined

at trial but in no event less than ONE MILLION DOLLARS ($1,000,000.00);

      N.     Such other and further relief as the Court deems just and proper.

Dated: Lake Success, New York
       May 7, 2020

                                           Respectfully Submitted,
                                           THE RUSSELL FRIEDMAN LAW GROUP, LLP
                                           Attorneys for Plaintiff, Roman Taffese

                                   By:     /s/Charles Horn
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                                           Lake Success, New York 11042
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